      Case 1:17-cr-00229-AT-CMS Document 76 Filed 01/09/18 Page 1 of 2


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA

         v.                                      Criminal Action No.

   J ARED W HEAT ,                               1:17-CR-0229-AT-CMS
   J OHN B RANDON S CHOPP , AND
   H I -T ECH P HARMACEUTICALS , I NC .




                             SCHEDULING ORDER

     For good cause shown, and with the Defendants not having an objection,

the Government’s Unopposed Motion for Scheduling Order, [Doc. 76], is

GRANTED.

   The Government’s production of scanned copies of paper documents seized

during the search warrant execution of Hi-Tech Pharmaceuticals, Inc., and its

responses to the Defendants’ requests referenced in the Government’s Motion,

are due on or before February 1, 2018. The Government’s expert disclosures are

now due on or before March 15, 2018. Pretrial motions directed to the face of the

indictment (e.g., motions to dismiss, motions to strike, and motions for bill of

particulars) are now due on or before March 2, 2018, and all other non-expert

motions are now due on or before May 1, 2018.

   This extension is necessary because it will facilitate the parties’ review of the

materials produced and permit the Defendants to determine appropriate
      Case 1:17-cr-00229-AT-CMS Document 76 Filed 01/09/18 Page 2 of 2


motions to file. The time between _______________, 2018 and ____________, 2018

is excluded from Speedy Trial Act calculations for the reasons set out above,

pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), because the Court finds

that the ends of justice served by granting the continuance to allow defense

counsel the reasonable time necessary for effective preparation outweigh the

Defendants’ and the public’s right to a speedy trial.

    SO ORDERED this _____ day of January, 2018.


                                      ___________________________________
                                      CATHERINE M. SALINAS
                                      UNITED STATES MAGISTRATE JUDGE

Presented by:
Nathan P. Kitchens and Cassandra J. Schansman
Assistant United States Attorneys
